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                       IN THE UNITED STATES DISTRICT COURT
                           OF THE DISTRICT OF COLUMBIA

GANNETT SATELLITE                                     )
INFORMATION NETWORK,                                  )
                                                      )      Civ. A. No. 22-cv-475
       Plaintiff,                                     )
                                                      )
       v.                                             )
                                                      )
U.S. DEPARTMENT OF JUSTICE,                           )
                                                      )
       Defendant.                                     )

    PLAINTIFF’S RESPONSE TO DEFENDANT’S STATEMENT OF UNDISPUTED
                           MATERIAL FACTS

       1.      Undisputed.

       2.      Disputed; Plaintiff disputes both sentences to the extent they suggest that the

adequacy of Defendant’s search is material to the instant motions. The parties agreed, and the

Court ordered, that the motions be “limited to the applicability of Exemption 3[.]” Minute Order

(June 21, 2022); Joint Status Report (ECF No. 10) at 2. Plaintiff disputes the second sentence to

the extent its assertion that “there are no other locations reasonably likely to contain responsive

records” represents a legal conclusion.

       3.      Undisputed.

       4.      Disputed; Plaintiff disputes that records are “subject to FOIA Exemption 3” and

“required to be kept confidential” to the extent those assertions represent legal conclusions.

       5.      Undisputed.

       6.      Undisputed.
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Dated: July 29, 2022

                                             RESPECTFULLY SUBMITTED,

                                             /s/ Matthew V. Topic

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                                             Attorneys for Plaintiff

 Matthew Topic, DC Bar No. IL0037
 Josh Loevy, DC Bar No. IL0105
 Merrick Wayne, DC Bar No. IL0058
 Shelley Geiszler, DC Bar No. IL0087
 (E-Mail: foia@loevy.com)
 LOEVY & LOEVY
 311 N. Aberdeen, Third Floor
 Chicago, Illinois 60607
 Tel.: (312) 243-5900
 Fax: (312) 243-5902




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